            Case 2:21-cv-05223-CFK Document 7 Filed 12/08/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


 PEITRO TAWADROUS,

                                       Plaintiff,
                                                         Civil Action No. 2:21-cv-05223-CFK
 v.

 TRANS UNION, LLC, et al.

                                    Defendants.


                          WELLS FARGO BANK, N.A.’S
                  FINANCIAL INTEREST DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable the Court to

evaluate possible disqualifications or recusal, Defendant Wells Fargo Auto, a division of Wells

Fargo Bank, N.A. f/k/a Wells Fargo Dealer Services (“Wells Fargo”), by counsel, makes the

following disclosures:

       1.      Is the party a non-governmental corporate party?

               RESPONSE: Wells Fargo Bank, N.A. is chartered as a National Bank.

       2.      If the answer to Number 1 is “yes” list below any parent corporation or state that

there is no such corporation.

               RESPONSE: Wells Fargo Bank, N.A.’s ultimate corporate parent is Wells Fargo

               & Company.

       3.      If the answer to Number 1 is “yes” list below any publicly-held corporation that

owns 10% or more of the party’s stock or state that there is no such corporation.
          Case 2:21-cv-05223-CFK Document 7 Filed 12/08/21 Page 2 of 2




               RESPONSE: No publicly held corporation owns 10% or more of the stock of

Wells Fargo Bank, N.A. Wells Fargo & Company, a publicly traded corporation, is the ultimate

parent of Wells Fargo Bank, N.A.

       The undersigned party understands that under Rule 7.1 of the Federal Rules of Civil

Procedure, it will promptly file a supplemental statement upon any change in the information that

this statement requires.

Dated: December 8, 2021                     Respectfully submitted,

                                            WELLS FARGO BANK, N.A

                                            By: /s/ Jenna Christine Hutchinson
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                                            Services
